                       IN THE UNITED STATES DISTRICT COURT FOR THE
                               MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

MEMPHIS A. PHILLIP RANDOLPH                      )
INSTITUTE, et al.,                               )
                                                 )
         Plaintiffs,                             )
                                                 )        NO. 3-20-cv-00374
v.                                               )        JUDGE RICHARDSON
                                                 )
TRE HARGETT, et al.,                             )
                                                 )
         Defendants.                             )


                                            ORDER

        Defendants have filed an Emergency Motion for a Stay Pending Appeal (Doc. No. 109,

“Motion”). Plaintiffs shall file a response to the Motion by midnight on Wednesday, October 7,

2020. Otherwise, there shall be no further briefing on the Motion.

        IT IS SO ORDERED.



                                                     _________________________________
                                                     ELI RICHARDSON
                                                     UNITED STATES DISTRICT COURT




     Case 3:20-cv-00374 Document 110 Filed 10/06/20 Page 1 of 1 PageID #: 2809
